Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11042 Filed 09/08/14 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  In Re: AUTOMOTIVE PARTS                                12-md-02311
  ANTITRUST LITIGATION                                   Honorable Marianne O. Battani


  ALL PARTS


  THIS RELATES TO:

  ALL CASES



           RESPONDING DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION
                 TO MODIFY STIPULATED ORDER OF DISCOVERY

          To the extent the End Payor Plaintiffs only seek to modify the Stipulated Order dated

  December 23, 2013 [Dkt. 664], as amended June 25, 2014 [Dkt. 750], which was entered

  following the Department of Justice’s request for a limited stay of discovery (the “DOJ

  Discovery Stay”), the undersigned responding Defendants take no position with respect to the

  request for that limited relief.

          To the extent that the End Payor Plaintiffs also seek a blanket order authorizing service of

  their proposed interrogatory in all product cases and requiring Defendants in all product cases to

  respond to the proposed interrogatory, the responding Defendants submit that such an order is

  not appropriate at this time for all cases.

          The DOJ Discovery Stay already provides (at page 5):

          This Order does not foreclose any party from objecting on any grounds available
          to it under the Federal Rules of Civil Procedure to any discovery request
          propounded in the Initial or Later Cases, or supersede any other stay of or
          limitation on discovery that may be imposed in any existing or subsequent case
          management order or discovery schedule applicable in any particular case.



                                                  -1-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11043 Filed 09/08/14 Page 2 of 14




         While declining to oppose the requested modification of the DOJ Discovery Stay, the

  responding Defendants each reserve – as the DOJ Discovery Stay already contemplates – any

  other objections that may be available to them in their respective cases, and which would have

  been available to them even if the DOJ had never sought and obtained the DOJ Discovery Stay.

  This includes the objection that, irrespective of the DOJ’s view that the proposed interrogatory

  does not impede its investigation, the requested discovery may be premature in particular cases

  where motions to dismiss have not yet been decided (and in certain instances have not even been

  filed or fully briefed), as well as objections addressed to the specific substance of the Plaintiffs’

  request. Indeed, while it may be appropriate in some of the earlier cases where operative

  complaints have been finalized and discovery is underway, the proposed interrogatory is

  premature and inappropriate at this time for those cases where an amended complaint has not

  been filed, where a motion to dismiss is pending, where the Defendants have not been served

  with process or have personal jurisdiction defenses, or where other circumstances make

  discovery premature under applicable rules.

         Such relief also is not appropriate in light of the Order Appointing a Master [Dkt. 792],

  which provides that the Special Master has the authority “to schedule and coordinate discovery.”

  (Dkt. 792, ¶I(C).) The issues of whether and when to serve the interrogatory in each case – and

  the assessment of any objections to the content of such interrogatory – are precisely the type of

  pretrial discovery matters that the Court’s Order Appointing A Master instructs will be handled

  by the Special Master, as is further reflected by Your Honor’s recent referral of Plaintiffs’

  motion to the Special Master.

         A revised proposed form of Order is attached.




                                                    -2-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11044 Filed 09/08/14 Page 3 of 14




  Dated: September 8, 2014                  Respectfully submitted,


                                        /s/ Peter L. Simmons
                                        Peter L. Simmons
                                        Steven M. Witzel
                                        FRIED, FRANK, HARRIS, SHRIVER
                                          & JACOBSON LLP
                                        One New York Plaza
                                        New York, New York 10004
                                        Telephone: (212) 859-8000
                                        Facsimile: (212) 859-4000
                                        peter.simmons@friedfrank.com
                                        steven.witzel@friedfrank.com

                                        /s/ Thomas J. Tallerico (with consent)
                                        Thomas J. Tallerico
                                        Jason R. Gourley
                                        BODMAN PLC
                                        201 West Big Beaver Road, Suite 500
                                        Troy, Michigan 48084
                                        Telephone: (248) 743-6073
                                        Facsimile: (248) 743-6002
                                        ttallerico@bodmanlaw.com
                                        jgourley@bodmanlaw.com

                                        Attorneys for Defendants T.RAD Co., Ltd., and
                                        T.RAD North America, Inc.

                                        /s/ George A. Nicoud III (with consent)
                                        George A. Nicoud III (SBN 160111)
                                        Austin Schwing (SBN 211696)
                                        Stuart McPhail (SBN 287048)
                                        GIBSON, DUNN & CRUTCHER LLP
                                        555 Mission Street, Suite 3000
                                        San Francisco, CA 94105
                                        Telephone: (415) 393-8200
                                        Facsimile: (415) 393-8306
                                        tnicoud@gibsondunn.com
                                        aschwing@gibsondunn.com
                                        smcphail@gibsondunn.com

                                        Attorneys for Defendants American Mitsuba
                                        Corporation and Mitsuba Corporation




                                      -3-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11045 Filed 09/08/14 Page 4 of 14




                                        /s/ Craig P. Seebald (with consent)
                                        Craig P. Seebald
                                        Alden L. Atkins
                                        Lindsey R. Vaala
                                        VINSON & ELKINS LLP
                                        2200 Pennsylvania Avenue, N.W.
                                        Suite 500 West
                                        Washington, DC 20037
                                        Telephone: (202) 639-6585
                                        Facsimile: (202) 879-8995
                                        cseebald@velaw.com
                                        aatkins@velaw.com
                                        lvaala@velaw.com

                                        Attorneys for Hitachi Automotive Systems,
                                        Ltd., Hitachi Automotive Systems Americas,
                                        Inc., and Hitachi, Ltd.

                                        /s/ Howard B. Iwrey (with consent)
                                        Howard B. Iwrey (P39635)
                                        Brian M. Moore (P58584)
                                        DYKEMA GOSSETT PLLC
                                        39577 Woodward Ave., Suite 300
                                        Bloomfield Hills, MI 48304
                                        Tel: (248) 203-0700
                                        Fax: (248) 203-0763
                                        hiwrey@dykema.com
                                        bmoore@dykema.com

                                        Franklin R. Liss
                                        Barbara H. Wootton
                                        Tiana Russell
                                        Lauren K. Peay
                                        ARNOLD & PORTER LLP
                                        555 Twelfth Street NW
                                        Washington, DC 20004
                                        Tel: (202) 942-5969
                                        Fax: (202) 942-5999
                                        frank.liss@aporter.com
                                        barbara.wootton@aporter.com
                                        tiana.russell@aporter.com
                                        lauren.peay@aporter.com

                                        Attorneys for Defendants Koito Manufacturing
                                        Co., Ltd. and North American Lighting, Inc.




                                      -4-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11046 Filed 09/08/14 Page 5 of 14




                                        /s/ Heather L. Kafele (with consent)
                                        Heather L. Kafele
                                        Keith Palfin
                                        Alison R. Welcher
                                        SHEARMAN & STERLING LLP
                                        801 Pennsylvania Avenue NW, Ste. 900
                                        Washington, DC 20004
                                        Telephone: (202) 508-8000
                                        Facsimile: (202) 508-8100
                                        hkafele@shearman.com
                                        keith.palfin@shearman.com
                                        alison.welcher@shearman.com

                                        Brian M. Akkashian
                                        PAESANO AKKASHIAN, PC
                                        132 N. Old Woodward Avenue
                                        Birmingham, MI 48009
                                        248-792-6886
                                        bakkashian@paesanoakkashian.com

                                        Attorneys for Defendants JTEKT Corporation,
                                        JTEKT North America Corporation (formerly
                                        d/b/a Koyo Corporation of U.S.A.), and
                                        JTEKT Automotive North America, Inc.


                                        /s/ Gary K. August (with consent)
                                        ZAUSMER, KAUFMAN, AUGUST &
                                        CALDWELL, P.C.
                                        31700 Middlebelt Road
                                        Suite 150
                                        Farmington Hills, Michigan 48334-2374
                                        Telephone (248) 851-4111
                                        gaugust@zkac.com

                                        Attorneys for Mitsubishi Electric Corporation,
                                        Mitsubishi Electric US Holdings, Inc., and
                                        Mitsubishi Electric Automotive America, Inc.




                                      -5-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11047 Filed 09/08/14 Page 6 of 14




                                        /s/ Debra H. Dermody (with consent)
                                        Debra H. Dermody
                                        Michelle A. Mantine
                                        REED SMITH LLP
                                        225 Fifth Avenue
                                        Pittsburgh, PA 15222
                                        Telephone: (412) 288-3302/4268
                                        Fax: (412) 288-3063
                                        ddermody@reedsmith.com
                                        mmantine@reedsmith.com

                                        /s/ Howard B. Iwrey (with consent)
                                        Howard B. Iwrey (P39635)
                                        Brian M. Moore (P58584)
                                        DYKEMA GOSSETT PLLC
                                        39577 Woodward Avenue
                                        Bloomfield Hills, Michigan 48304
                                        Telephone: (248) 203-0526
                                        Fax: (248) 203-0763
                                        hiwrey@dykema.com
                                        bmoore@dykema.com

                                        Attorneys for Defendant
                                        SKF USA Inc.




                                      -6-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11048 Filed 09/08/14 Page 7 of 14




                                        /s/ Marguerite M. Sullivan (with consent)
                                        Marguerite M. Sullivan (DC Bar #497894)
                                        William H. Rawson (DC Bar #999249)
                                        LATHAM & WATKINS LLP
                                        555 Eleventh Street NW, Suite 1000
                                        Washington, DC 20004-1304
                                        Tel.: (202) 637-2200
                                        Fax: (202) 637-2201
                                        marguerite.sullivan@lw.com
                                        william.h.rawson@lw.com

                                        Daniel M. Wall (CA Bar #102580)
                                        LATHAM & WATKINS LLP
                                        505 Montgomery Street, Suite 2000
                                        San Francisco, CA 94111-6538
                                        Tel.: (415) 391-0600
                                        Fax: (415) 395-8095
                                        dan.wall@lw.com

                                        Attorneys for Defendant
                                        Ichikoh Industries, Ltd.




                                      -7-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11049 Filed 09/08/14 Page 8 of 14




                                        /s/ Robert J. Wierenga (with consent)
                                        Robert J. Wierenga
                                        Suzanne L. Wahl
                                        SCHIFF HARDIN LLP
                                        340 S. Main Street, Suite 210
                                        Ann Arbor, MI 48104
                                        734–222–1500
                                        Fax: (734) 222–1501
                                        rwierenga@schiffhardin.com
                                        swahl@schiffhardin.com

                                        David M. Zinn
                                        John E. Schmidtlein
                                        Samuel Bryant Davidoff
                                        WILLIAMS & CONNOLLY LLP
                                        725 Twelfth Street, N.W.
                                        Washington, DC 20005
                                        202–434–5000
                                        Fax: 202–434–5029
                                        dzinn@wc.com
                                        jschmidtlein@wc.com
                                        sdavidoff@wc.com

                                        Attorneys for Defendants Takata Corporation
                                        and TK Holdings Inc.




                                      -8-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11050 Filed 09/08/14 Page 9 of 14




                                        /s/ Steven A. Reiss (with consent)
                                        Steven A. Reiss
                                        Adam C. Hemlock
                                        WEIL, GOTSHAL & MANGES LLP
                                        767 Fifth Avenue
                                        New York, New York 10153-0119
                                        Telephone: (212) 310-8000
                                        Facsimile: (212) 310-8007
                                        steven.reiss@weil.com
                                        adam.hemlock@weil.com

                                        Frederick R. Juckniess
                                        SCHIFF HARDIN LLP
                                        350 South Main Street, Suite 210
                                        Ann Arbor, MI 48104
                                        Telephone: (734) 222-1504
                                        fjuckniess@schiffhardin.com

                                        Attorneys for Bridgestone Corporation and
                                        Bridgestone APM Company


                                        /s/ Corey W. Roush (with consent)
                                        Corey W. Roush
                                        William L. Monts, III
                                        Meghan C. Edwards-Ford
                                        HOGAN LOVELLS US LLP
                                        Columbia Square
                                        555 Thirteenth Street, NW
                                        Washington, DC 20004
                                        Tel: 202.637.5600
                                        Fax: 202.637.5910
                                        corey.roush@hoganlovells.com
                                        william.monts@hoganlovells.com
                                        meghan.edwards-ford@hoganlovells.com

                                        Attorneys for Mitsubishi Heavy Industries
                                        America, Inc. and Mitsubishi Heavy Industries
                                        Climate Control, Inc.




                                      -9-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11051 Filed 09/08/14 Page 10 of 14




                                         /s/ Jeremy J. Calsyn (with consent)
                                         Jeremy J. Calsyn
                                         CLEARY GOTTLIEB STEEN &
                                         HAMILTON LLP
                                         2000 Pennsylvania Avenue, NW
                                         Washington, DC 20006
                                         (202) 974-1522
                                         jcalsyn@cgsh.com

                                         David A. Ettinger
                                         HONIGMAN, MILLER, SCHWARTZ AND
                                         COHN LLP
                                         660 Woodward Avenue
                                         Suite 2290
                                         Detroit, MI 48226-3506
                                         (313) 465-7368
                                         dettinger@honigman.com

                                         Attorneys for Defendants NSK Ltd. and NSK
                                         Americas, Inc.

                                         /s/ David C. Giardina (with consent)
                                         David C. Giardina
                                         Courtney A. Rosen
                                         SIDLEY AUSTIN LLP
                                         One S. Dearborn St.
                                         Chicago, IL 60603
                                         Telephone: (312) 853-7000
                                         Facsimile: (312) 853-7036
                                         dgiardina@sidley.com
                                         crosen@sidley.com

                                         /s/ Bradley J. Schram (with consent)
                                         Bradley J. Schram (MI Bar # P26337)
                                         HERTZ SCHRAM PC
                                         1760 S. Telegraph Rd., Suite 300
                                         Bloomfield Hills, MI 48302
                                         Telephone: (248) 335-5000
                                         Facsimile: (248) 335-3346
                                         bschram@hertzschram.com

                                         Attorneys for Toyo Tire & Rubber Co., Ltd.,
                                         Toyo Automotive Parts (USA), Inc., Toyo Tire
                                         North America OE Sales LLC, and Toyo Tire
                                         North America Manufacturing, Inc.


                                      -10-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11052 Filed 09/08/14 Page 11 of 14




                                         /s/ Matthew J. Reilly (with consent)
                                         Matthew J. Reilly
                                         Abram J. Ellis
                                         David T. Shogren
                                         SIMPSON THACHER & BARTLETT LLP
                                         1155 F Street, N.W.
                                         Washington, DC 20004
                                         Telephone: (202) 636-5500
                                         Facsimile: (202) 636-5502
                                         matt.reilly@stblaw.com
                                         aellis@stblaw.com
                                         dshogren@stblaw.com
                                         George S. Wang
                                         SIMPSON THACHER & BARTLETT LLP
                                         425 Lexington Avenue
                                         New York, NY 10017
                                         Telephone: (212) 455-2000
                                         Facsimile: (212) 455-2502
                                         gwang@stblaw.com
                                         Attorneys for Defendants Stanley Electric Co.,
                                         Ltd.; Stanley Electric U.S. Co., Inc.; and II
                                         Stanley Co., Inc.


                                         /s/ Howard B. Iwrey (with consent)
                                         Howard B. Iwrey (P39635)
                                         DYKEMA GOSSETT PLLC
                                         39577 Woodward Ave., Suite 300
                                         Bloomfield Hills, MI 48304
                                         Tel: (248) 203-0700
                                         Fax: (248) 203-0763
                                         hiwrey@dykema.com
                                         Brian Byrne
                                         Ryan Davis
                                         CLEARY GOTTLIEB STEEN &
                                         HAMILTON LLP
                                         2000 Pennsylvania Avenue NW
                                         Washington, DC 20006
                                         Telephone: (202) 974-1850
                                         Facsimile: (202) 974-1999
                                         bbyrne@cgsh.com
                                         rmdavis@cgsh.com
                                         Attorneys for Valeo S.A., Valeo Japan Co.,
                                         Ltd., Valeo Inc., Valeo Electrical Systems, Inc.,
                                         and Valeo Climate Control Corp.


                                      -11-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11053 Filed 09/08/14 Page 12 of 14




                                         /s/ Matthew J. Reilly (with consent)
                                         Matthew J. Reilly
                                         Abram J. Ellis
                                         David T. Shogren
                                         SIMPSON THACHER & BARTLETT LLP
                                         1155 F Street, N.W.
                                         Washington, DC 20004
                                         Telephone: (202) 636-5500
                                         Facsimile: (202) 636-5502
                                         matt.reilly@stblaw.com
                                         aellis@stblaw.com
                                         dshogren@stblaw.com

                                         George S. Wang
                                         SIMPSON THACHER & BARTLETT LLP
                                         425 Lexington Avenue
                                         New York, NY 10017
                                         Telephone: (212) 455-2000
                                         Facsimile: (212) 455-2502
                                         gwang@stblaw.com

                                         Attorneys for Defendants Diamond Electric
                                         Mfg. Co., Ltd. and Diamond Electric Mfg.
                                         Corp.




                                      -12-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11054 Filed 09/08/14 Page 13 of 14




                                         /s/ James L. Cooper (with consent)
                                         James L. Cooper
                                         Danielle Garten
                                         Adam Pergament
                                         ARNOLD & PORTER LLP
                                         555 Twelfth Street NW
                                         Washington, DC 20004-1206
                                         Telephone: (202) 942-5000
                                         Facsimile: (202) 942-5999
                                         James.Cooper@aporter.com
                                         Danielle.Garten@aporter.com
                                         Adam.Pergament@aporter.com

                                         Joanne Geha Swanson (P33594)
                                         Fred K. Herrmann (P49519)
                                         KERR, RUSSELL AND WEBER, PLC
                                         500 Woodward Avenue
                                         Suite 2500
                                         Detroit, MI 48226
                                         Telephone: (313) 961-0200
                                         jswanson@kerr-russell.com
                                         fherrmann@kerr-russell.com

                                         Attorneys for Yamashita Rubber Co., Ltd. and
                                         YUSA Corporation




                                      -13-
Case 2:12-md-02311-SFC-RSW ECF No. 804, PageID.11055 Filed 09/08/14 Page 14 of 14




                                   CERTIFICATE OF SERVICE

           I, Peter L. Simmons, hereby certify that on September 8, 2014, I electronically filed the
   foregoing paper with the Clerk of the Court using the ECF system which will send notification of
   such filing to ECF-registered counsel in this matter.



                                               /s/ Peter L. Simmons
                                               Peter L. Simmons
                                               FRIED, FRANK, HARRIS, SHRIVER
                                                 & JACOBSON LLP
                                               One New York Plaza
                                               New York, New York 10004
                                               Telephone: (212) 859-8000
                                               Facsimile: (212) 859-4000
                                               peter.simmons@friedfrank.com




                                                 -14-
                                                                                             9569299
